403 F.2d 1022
    ILLINOIS CENTRAL RAILROAD COMPANY, Appellant,v.STANDARD OIL COMPANY, Appellee.
    No, 26205.
    
      United States Court of Appeals Fifth Circuit.
      Nov. 26, 1968.
      Burkett H. Martin, Vicksburg, Miss., Robert Mitten, William F. Bunn, Chicago, Ill., Dent, Ward, Martin &amp; Terry, Vicksburg, Miss., for appellant.
      W. E. Suddath, J., Jackson, Miss., for appellee.
      Before GEWIN and GODBOLD, Circuit Judges, and CHOATE, District Judge.
      PER CURIAM:
    
    
      1
      In this case the appellant, Illinois Central Railroad Company, claims the right to contribution from the appellee, Standard Oil Company, for one-half of the amount paid by the railroad in satisfaction of a judgment obtained against it by one of its employees pursuant to the Federal Employers' Liability Act, 45 U.S.C. 51 and the Safety Appliance Act, 45 U.S.C. 4.  The United States District Court for the Southern District of Mississippi concluded that the appellant was not entitled to contribution and dismissed the complaint, 292 F.Supp. 337.  We have thoroughly considered the contentions of the appellant as set forth in its brief and presented on oral argument and conclude that the district court decided the case correctly.
    
    
      2
      The judgment is affirmed.
    
    